. it Fr'<\
ease 2;04 --Cr 20478- JPl\/l Documem 32 Flled 07/21/05 Page 1 0@:@@{§>,43 f
' \`\_//

%\\

Fut=.o saw @@“ o.c.

 

F“~ED BY $erl`lno THE UNITED STATES DISTRICT COURT
ns Jm_ 2\ FDR‘IIHE WESTERN DISTRICT OF TENNESSEE 2335 JU]_ 2[] AH 9a 5|

 

 

  
 
 
 

 
   

 

 

WESTERN DIVISION
mm ThG`-"S iii *-;~D
' M“ UU?.H?\. U.§ l»r|o\`.;lm CUlii'il
OF AMERICA, W’D O. lt will le'lS
Plaintiff.
vs. C¥;OTION; GRANTED t _ h
ANTONIO owENs wlth g_°§ PHIPPS M»~c_ir§LA
Defend’an:. __Od";"$ 200 .~ DISTRICT JUD a
\)ETE _=*‘

 

MOTION TO CONTINUE REPORT DATE

 

Comes now Antonio OWens, by and through counsel, Juni S. Ganguli, and
respectfully requests this Honorable Court for a continuance of the report date in this

case. The report date is currently July 22, 2005. In support, Mr. Owens would submit

the following:
l. Mr. Owens is cooperating with law enforcement in a complex state court
matter.
2. The cooperation is ongoing, and may impact a future plea agreement
3. Counsel for the United States, Katrina Earley, has_no objection to this
request.
4. Defendant would request that the case be continued for ninety days.

Th|s document entered on the docket sheet ln comp||anoa

with mile 55 and/or 32(b) Fncrp on ¢2/'-0_(

Case 2:04-cr-20478-.]PI\/| Document 32 Filed 07/21/05 Page 2 of 3 Page|D 44

Respectfully submitted,

/ l .. 7
‘-j /</' M"
JUNI s. GANGULI (018659)
Attorney for Defendant
40 South Main Street, Suite 1540

Memphis, Tennessee 38103
(901) 544-9339

CERTIFICATE OF SERVICE

 

I, the undersigned, do hereby certify that a true and exact copy of the foregoing document
has been served upon all concerned parties, via hand delivery or by placing the same in the
United States Mail, postage prepaid this the 20‘*‘ day of July, 2005 .

ff Le,£

IUNI s. GANGI_¢)-'BI

   

UNITED sTATE DRISTIC COURT - WESTER D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:04-CR-20478 was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed

 

 

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

J uni S. Ganguli

LAW OFFICES OF .TUNI GANGULI
40 S. Main Ave.

Ste. 1540

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

